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4                         UNITED STATES DISTRICT COURT

5                        EASTERN DISTRICT OF CALIFORNIA

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7    UITED STATES OF AMERICA,             No. 2:16-cr-0001-GEB
8                  Plaintiff,
9         v.
10   ZALATHIEL AGUILA, and
     OMAR ANABO
11
                   Defendants.
12

13
     UNITED STATES OF AMERIA
14                                        No. 2:16-cr-0046-JAM
15                 Plaintiff,
16        v.                              RELATED CASES ORDER
17   SERGIO ROMAN BARRIENTOS, and
     ZALATHIEL AGUILA
18
                   Defendants.
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21              On April 15, 2016, the government filed a “Notice of

22   Related Cases” (“Notice”) in each of the above-captioned matters.

23   In its Notice, the government states:

24              [T]he above-captioned matters are related
                cases    within   the   meaning of    [Eastern
25              District] Local Rule 123 [because they]
                involve the same parties and witnesses, are
26              based on the same facts, and involve the same
                properties and transactions. Reassignment to
27              the    same   district    judge would    avoid
                substantial duplication of labor by the
28              Court.
                                       1
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1    (Gov’t’s Notice of Related Cases, 2:16-cr-0001-GEB, 1:26-28, ECF

2    No. 29.)

3                Examination       of     the    above-referenced       actions      reveals

4    they are related within the meaning of Local Rule 123. Under the

5    regular    practice      of   this    Court,      related      cases   are    generally

6    reassigned    to   the    judge      to    whom    the    first   filed      action   was

7    assigned.    Therefore,       action       2:16-cr-0046-JAM       is     reassigned    to

8    Judge    Garland   E.    Burrell,         Jr.,    for    all   further    proceedings.

9    Henceforth the caption on documents filed in the reassigned case

10   shall show the initials “GEB.”

11   Dated:    April 18, 2016

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